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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

THE NEW GEORGIA PROJECT,
REAGAN JENNINGS, CANDACE
WOODALL, and BEVERLY PYNE,
           Plaintiffs,
                                              CIVIL ACTION FILE
                    v.                        No. 1:20-CV-01986-ELR
BRAD RAFFENSPERGER, in his official
capacity as the Georgia Secretary of State
and the Chair of the Georgia State Election
Board; et al.,
           Defendants.


     PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION FOR
                  PRELIMINARY INJUNCTION
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                              I.    INTRODUCTION

      The June Primary sounded a “warning siren” that, unless this Court acts,

thousands of lawful, eligible Georgia voters will be severely burdened (and, in many

cases, entirely disenfranchised) in November as a result of the unconstitutionally

(and in the present pandemic, unconscionably) restrictive challenged laws. Rather

than heed that warning, Defendants deny evidence of systemic problems and

astonishingly lay the blame for catastrophic elections failure at voters’ feet. At least

100 voters have submitted declarations detailing how Georgia’s absentee system and

the challenged laws—only exacerbated by the ever more alarming COVID-19

crisis—disenfranchised them in June and threaten to do so again. Plaintiffs have also

submitted unrebutted, credible expert testimony establishing that there are thousands

more stories where these came from. This is more than enough evidence to establish

that Plaintiffs’ need for an injunction is real, concrete, and supported by law. This

Court should grant Plaintiffs’ request for preliminary relief.

                            II.    LEGAL STANDARD

      The remedy Plaintiffs seek—to prohibit Defendants from enforcing

unconstitutional restrictions on fundamental constitutional rights—is a prohibitory

injunction. McDonald’s Corp. v. Robertson, 147 F.3d 1301, 1307 n.2 (11th Cir.

1998). But even if it were “mandatory,” it is warranted because “the facts and law
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clearly favor” its issuance. Id. There is no “particular magic in” describing an

injunction as preserving or modifying the “status quo.” Ga. State Conf. of the

NAACP v. Fayette County Bd. of Comm’rs, 118 F. Supp. 3d 1338, 1349 (N.D. Ga.

2015) (quoting Canal Auth. of Fla. v. Callaway, 489 F.2d 567, 576 (5th Cir. 1974)).

“If the . . . status quo itself is causing . . . irreparable injury,” courts retain an

obligation “to alter the situation so as to prevent the injury” by issuing an injunction.

Canal Auth. of Fla., 489 F.2d at 576 (citations omitted).1

                                 III.   ARGUMENT

A.    The New Georgia Project and the Voter Plaintiffs have standing.2
      First, The New Georgia Project (“NGP”) has standing because it “will need

to divert resources from general voting initiatives or other missions . . . to address

the impacts of election laws or policies.” Fair Fight Action, Inc. v. Raffensperger,

413 F. Supp. 3d 1251, 1266 (N.D. Ga. 2019). That voter education is part of NGP’s

mission has no bearing on this. See, e.g., Arcia v. Fla. Sec’y of State, 772 F.3d 1335,

1341 (11th Cir. 2014). NGP must “divert additional resources” to help its

constituents overcome the challenged laws, which “would otherwise [be] spen[t] on


1
  Fifth Circuit decisions issued on or before September 30, 1981 are binding in this
Circuit. Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc).
2
  Most of Defendants’ arguments were addressed in Plaintiffs’ oppositions to the
motions to dismiss, ECF Nos. 96 and 97, incorporated here by reference.


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its core registration and civic engagement activities.” ECF No. 59-3, ¶ 18; see also

id. ¶¶ 8, 11, 13, 17, 20; Ex. 5 ¶¶ 3-4. This is all that is required. See ECF No. 96 at

8-10.3

         Second, the Voter Plaintiffs—all of whom will vote absentee in Georgia in

November and are subject to and burdened by the challenged laws—have certainly

suffered injuries in fact. See, e.g., Common Cause/Georgia v. Billups, 554 F.3d

1340, 1351 (11th Cir. 2009) (voters had standing to challenge ID law because they

were subject to it); see also ECF No. 96 at 4-8. The Counties indicate that a plaintiff

must be disenfranchised to have standing, but that is not the law and never has been.

“[A] voter always has standing to challenge a statute that places a requirement on

the exercise of his or her right to vote,” even if they are not disenfranchised. People

First of Ala. v. Merrill, No. 2:20-cv-00619-AKK, 2020 WL 3207824 at *6-7 (N.D.

Ala. June 15, 2020) (citation omitted); see also Charles H. Wesley Educ. Found.,

Inc. v. Cox, 408 F.3d 1349, 1352 (11th Cir. 2005) (“A plaintiff need not have the

franchise wholly denied to suffer injury.”). In any event, Plaintiff Pyne was in fact

disenfranchised by the Receipt Deadline in 2018, ECF No. 59-6 ¶¶ 4-9, and in the

June Primary by Gwinnett County’s poor notification procedures, Ex. 3 ¶¶ 3-6 (Pyne



3
 The exhibits cited herein are attached to the Declaration of Kevin J. Hamilton in
support of this reply that is filed herewith.

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Suppl. Decl.); see also ECF No. 96 at 7. Finally, the challenged laws cause Plaintiffs’

injuries, not the pandemic, which merely exacerbates their impact. Plaintiffs satisfy

Article III’s traceability requirement. See ECF Nos. 96 at 12-14; 97 at 8-12.

B.     Plaintiffs are likely to succeed on the merits.

      The State not only misstates the applicable law but misconstrues Plaintiffs’

evidence. The applicable legal standards, as applied to the record here, makes

Plaintiffs’ likelihood of success on the merits is clear. First, Plaintiffs need not show

they will be prevented from voting. Neither the First, Fourteenth, Twenty-Fourth, or

Twenty-Sixth Amendments or the Voting Rights Act (“VRA”) requires a plaintiff

to prove a law will disenfranchise them to succeed. It is enough that their rights are

burdened or abridged. See, e.g., U.S. Const. amend. XXVI, §1 (“The right of citizens

of the United States, who are eighteen years of age or older, to vote, shall not be

denied or abridged.” (emphasis added)); Burdick v. Takushi, 504 U.S. 428, 434

(1992) (weighing “character and magnitude of the asserted injury” against the state’s

“justifications for the burden imposed by its rule” (quotation marks and citations

omitted)); Meyer v. Grant, 486 U.S. 414, 420 (1988) (“The First Amendment

provides that Congress “shall make no law . . . abridging the freedom of speech”

(emphasis added)); Harper v. Va. State Bd. of Elections, 383 U.S. 663, 668, (1966)

(“The inability of a voter to pay a poll tax . . . is not required to challenge a . . . tax



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on voting.”); Curling v. Raffensperger, 403 F. Supp. 3d 1311, 1336 (N.D. Ga. 2019)

(“Voters . . . enjoy a Fourteenth Amendment right to participate equally in the

electoral process.” (quotation marks omitted)); see also ECF No. 96 at 4-6, 15-17.

      Second, Georgia has conferred the right to vote absentee on its voters.

O.C.G.A. § 21-2-380(b). “[O]nce the state creates an absentee voting regime, they

must administer it in accordance with the Constitution.” Martin v. Kemp, 341 F.

Supp. 3d 1326, 1338 (N.D. Ga. 2018), appeal dismissed sub nom. Martin v. Sec’y of

State of Georgia, No. 18-14503-GG, 2018 WL 7139247 (11th Cir. Dec. 11, 2018)

(quotation marks and citation omitted); see also ECF No. 96 at 7-8. Thus, Georgians’

right to vote absentee is protected by the U.S. Constitution and the VRA.

      1.     The Notification Process
      Anderson-Burdick. “[I]t is a certainty that the standard” that election officials

use to evaluate absentee applications and “notify voters of problems differ[s] across

the state.” Ex. 1 at 11 (Mayer Rebuttal Rpt.); see also ECF No. 59-1 at 14-15. The

Counties’ declarations confirm this. See, e.g., ECF Nos. 90-11 ¶¶ 5-8 (Gwinnett:

notification within three business days); 90-15 ¶¶ 3-4 (Newton: three calendar days);

90-13 ¶ 3 (Macon-Bibb: generally within one to three days); 90-6 ¶ 6 (DeKalb:

generally three days, but unable to do so in June Primary); 90-10 ¶ 3 (Fulton: two

days). Multiple voters have similarly confirmed there is broad variability, recounting



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personal experiences that demonstrate that the estimates provided by the counties do

not always match reality.4 See Exs. 3 ¶¶ 3-6 (notice three weeks after election); 4 ¶¶

3-4 (no notice); 7 ¶¶ 3-6 (six weeks’ notice). The result of ineffective notice on

ballots application status: repeated, burdensome follow-up with counties, see, e.g.,

ECF Nos. 59-3 ¶¶ 8-10; 59-9 ¶ 4; 59-11 ¶ 10; 59-13 ¶ 4; 59-14 ¶¶ 4-5; 59-16 ¶¶ 6-

13; 59-17 ¶ 9; 59-68 ¶¶ 5-8; 59-70 ¶ 5; 59-71 ¶¶ 3-4; 59-90 ¶ 3; see also Exs. 9 ¶ 4;

20 ¶¶ 4-6; 24 ¶¶ 6-9; 28 ¶ 4; 29 ¶¶ 5-6; 30 ¶ 6; 34 ¶¶ 3-4; 38 ¶¶ 4-6; 43 ¶¶ 4-7; 57 ¶¶

4-5; 60 ¶¶ 9-10; 65 ¶¶ 4-5; 87 ¶¶ 3-6; 88 ¶¶ 3-5; 89 ¶ 7; 90 ¶ 5; 91 ¶ 8; 92 ¶¶ 5-7; 96

¶ 5, and, in some instances, disenfranchisement, see, e.g., ECF Nos. 59-70 ¶¶ 5-8;

59-90 ¶¶ 3-7; see also Exs. 3 ¶¶ 3-6; 4 ¶¶ 3-4; 7 ¶¶ 3-6; 10 ¶ 6; 12 ¶ 9; 13 ¶¶ 3-6; 14

¶¶ 4-8; 15 ¶¶ 3-6; 16 ¶ 3; 17 ¶¶ 4-7; 18 ¶¶ 3-6; 19 ¶¶ 8-10; 20 ¶¶ 6-7; 21 ¶ 6; 22 ¶¶

4-5; 23 ¶¶ 4-6; 24 ¶¶ 5-11; 25 ¶¶ 3-5; 26 ¶¶ 3-13; 27 ¶¶ 3-5; 28 ¶¶ 3-5; 29 ¶¶ 4-7; 30

¶ 3; 31 ¶¶ 4-7; 32 ¶ 6; 33 ¶¶ 3-5; 34 ¶¶ 3-5; 35 ¶ 8; 36 ¶¶ 3-5; 37 ¶¶ 3-7; 38 ¶¶ 3-8;

39 ¶¶ 3-8; 40 ¶¶ 3-8; 41 ¶¶ 3-7; 42 ¶¶ 7-12; 43 ¶ 10; 44 ¶¶ 4-7; 45 ¶¶ 4-9; 46 ¶¶ 3-4;

47 ¶ 4; 48 ¶¶ 3-18; 50 ¶ 3; 51 ¶¶ 3-9; 52 ¶¶ 3-9; 53 ¶¶ 3-8; 54 ¶¶ 7-8; 55 ¶¶ 5-10; 56

¶¶ 7-17; 57 ¶¶ 4-7; 58 ¶¶ 3-5; 59 ¶¶ 3-5; 60 ¶¶ 5-11; 61 ¶¶ 4-12; 62 ¶¶ 5-8; 63 ¶¶ 3-

7; 64 ¶¶ 9-17; 65 ¶¶ 3-6, or potential exposure to COVID-19, see, e.g., ECF Nos.



4
 The individual experiences testified to by declarants call the estimates provided by
the counties into question.

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59-14 ¶¶ 4-12; 59-16 ¶¶ 5-20; 59-17 ¶¶ 9-10; 59-18 ¶¶ 3-9; 59-67 ¶¶ 4-5; 59-68 ¶¶

5-11; 59-69 ¶¶ 4-10; 59-71 ¶¶ 3-9; see also Exs. 8 ¶¶ 4-5; 49 ¶¶ 3-7; 87 ¶¶ 8-15; 88

¶¶ 3-7; 89 ¶¶ 6-7; 90 ¶¶ 3-8; 91 ¶¶ 5-13; 92 ¶¶ 5-13; 93 ¶¶ 3-14; 94 ¶¶ 3-8; 95 ¶¶ 4-

9; 96 ¶¶ 3-10; 97 ¶¶ 5-14; 98 ¶¶ 4-5. It will only worsen in November as absentee

applications will no longer be prefilled—a process that previously decreased

rejections. ECF No. 59-1 at 16.

      The justifications posited do not outweigh these burdens. Voter fraud—which

occurs at a rate of 0.0003%, or approximately one per 3.1 million votes in Georgia—

is virtually nonexistent. Ex. 1 at 12; see also ECF No. 59-1 at 32-33. But more

fundamentally, Defendants have not explained how uniformly notifying voters of

deficiencies contributes to fraud. And while flexibility may be necessary to a degree,

it is not adequate reason to burden the right to vote under these circumstances. See

Taylor v. Louisiana, 419 U.S. 522, 535 (1975). Plaintiffs have established that they

are likely to succeed under Anderson-Burdick. See ECF No. 96 at 27.

      Due Process. Georgians have the right to vote absentee and have their ballot

counted when they do. As explained in ECF No. 96 at 18, Plaintiffs have not lodged

a facial claim and need not demonstrate that voters will “always” be deprived of the

right to vote. Rather, “‘[t]he proper focus of the constitutional inquiry is the group

for whom the law is a restriction, not the group for whom the law is irrelevant.’”


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Georgia Muslim Voter Project v. Kemp, 918 F.3d 1262, 1270 (11th Cir. 2019)

(quoting City of Los Angeles, Calif. v. Patel, 576 U.S. 409, 444 (2015)).

      Plaintiffs need only show (as they have) that existing procedures are neither

fair nor reliable. On its face and in practice, the Notification Process leaves the

timing of notification entirely to the discretion of local officials, fails to provide

adequate notice and, as a result, adequate opportunity to cure.5 See, e.g., Hunter v.

Hamilton Cty. Bd. of Elections, 635 F.3d 219, 243 (6th Cir. 2011) (“To

disenfranchise citizens whose only error was relying on poll-worker instructions [is]

fundamentally unfair.”). Where disenfranchisement may result, the process is

anything but adequate. See Exs. 3 ¶¶ 3-6 (unable to vote due to late notice); 4 ¶¶ 3-

4 (same); 7 ¶¶ 3-6 (same); 49 ¶¶ 3-4 (forced to vote in person during pandemic due

to inadequate notice); 98 ¶¶ 4-5 (same).

      Rather than address the evidence of burden, Defendants ignore most of it, and

mischaracterize what they do discuss. For example, the State is wrong to suggest

that the Weikle Declaration demonstrates that the Notification Process is adequate.

ECF No. 91 at 18 (“State Br.”). Ms. Weikle explains that the week’s delay in

notification delayed processing and receipt of her ballot. See ECF No. 59-7 ¶ 6. Her



5
 As explained in ECF No. 96 at 26 n.18, the State’s reliance on McKinney v. Pate,
20 F.3d 1550 (11th Cir. 1994), is misplaced.

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declaration further shows that the county notice estimates may not be accurate. But

more to the point, it is bizarre for the State to focus on one voter’s experience to

argue that the Notification Process is adequate, while ignoring evidence from others

demonstrating it is not. See, e.g., ECF Nos. 59-67 ¶ 4; 59-17 ¶¶ 9-10.6

      2.     Absentee Age Restriction

      Anderson-Burdick. The evidence is overwhelming that Georgia’s election-

by-election absentee request process does not work. Voters should not be subjected

to this process and repeatedly risk disenfranchisement or exposure to COVID-19,

simply because of their age. See supra 6-7. This risk is not hypothetical and the

request to apply for an absentee ballot just once per cycle is not a “policy

preference.” State Br. 19. It is basic math. Voters who must apply to vote absentee

more often are more likely to be subjected to rejection and disenfranchisement;

alleviating the need for repeated requests helps ensure that they are able to safely




6
 The State’s reliance on Ga. Comp. R. & Regs. 183-1-14-.11 is misplaced. State Br.
15, 17. That regulation relates to notices of rejection when an applicant is found
ineligible due to a signature mismatch under O.C.G.A. § 21-2-381(b)(1)-(3).
Plaintiffs have challenged § 21-2-381(b)(4), involving notification prior to rejection
of an application because the identity of the applicant cannot be determined. Thus,
183-1-14-.11 does not apply or limit discretion in this context. It does, however,
demonstrate that implementing a similar rule to limit discretion is well within the
State’s purview and the State already has procedures available for it to follow.

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and effectively exercise their right to vote. See Ex. 1 at 13; see also, e.g., ECF Nos.

59-6 ¶¶ 8, 12; 59-5 ¶¶ 8-9; 59-17 ¶¶ 12-13; Exs. 49 ¶ 9; 98 ¶¶ 6-7.

      The real risk of disenfranchisement is not a de minimus injury, and the State’s

justifications cannot overcome these burdens. See, e.g., Ga. Coal. for People’s

Agenda, Inc. v. Kemp, 347 F. Supp. 3d 1251, 1267-68 (N.D. Ga. 2018) (“GCPA”).

First, the State’s “interest in helping the most vulnerable, including Georgia’s aged

population,” State Br. 20, is not diminished by extending that protection to the ever-

rising number of Georgians now at risk of contracting COVID-19. See Ex. 2 ¶¶ 8-

11 (Ball Suppl. Rpt.). Second, there is no evidence that adding more voters to the

permanent absentee list and sending more ballots out because of that will increase

voter fraud.7 Multiple states have permanent absentee lists and report no increases

in voter fraud. See Ex. 1 at 12. Third, while it is true that young voters (ages 18-29)

are more likely to move than older voters, see State Br. 20, these differences in

residential mobility rates do not extend across all ages excluded by the Age

Restriction. See Ex. 1 at 13 (no appreciable mobility difference for those 55-64 and

over 65). Thus, this justification does not explain why Georgia imposes these


7
 The State cites to Billups, 554 F.3d at 1352, for this proposition, but Billups does
not discuss limitations on mailing ballots to registered, eligible absentee voters who
have requested them for a full cycle nor does it discuss the reduction of fraud “when
unused absentee ballots are limited.” State Br. 20.


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burdens on all voters under 65.8 Finally, while the Counties assert that granting relief

would result in more work, that alone is not sufficient to outweigh the burdens on

voters. See Taylor, 419 U.S. at 535. Indeed, Plaintiffs understand that as of this filing,

the State is preparing to take over management of the very “roll over lists” that the

Counties assert are burdensome to process, eliminating those claimed burdens.

      Twenty-Sixth Amendment. The Absentee Age Restriction discriminates on

account of age, and it does so explicitly. As demonstrated above, the justifications

proffered by the State are at best tenuous, and in no case sufficient to justify the

Restriction’s facial burden on voting rights based on age. See ECF No. 97 at 14-18

(discussing standard of review for Twenty-Sixth Amendment claims). Thus,

Plaintiffs are likely to succeed on the merits of this claim, as well. See, e.g., League

of Women Voters of Fla., Inc., v. Detzner, 314 F. Supp. 3d 1205, 1221-23 (N.D. Fla.

2018) (holding law “facially discriminatory” in violation of the Twenty-Sixth

Amendment as “[i]t is unexplainable on grounds other than age because it bears so

heavily on younger voters than all other voters”).

      3.     Postage Tax




8
  The State’s assertion the Age Restriction protects voters temporarily living in other
states overlooks an obvious point: the Restriction is based not on age, not location.


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      Anderson-Burdick. While the State disputes the legal characterization of

Georgia’s postage requirement as a poll tax, it does not (and cannot) dispute that

requiring voters to pay postage to vote absentee imposes monetary, time,

informational, opportunity, and learning costs on voters. ECF No. 59-1 at 12-14; see

also State Br. 23 (noting “inherent costs” in postage requirement). The testimony

affirms this, see ECF Nos. 59-3 ¶ 17 (purchasing stamps is a financial burden); 59-

5 ¶¶ 2, 5-6 (same); 59-17 ¶ 13 (same); 59-10 ¶¶ 4-7 (same); 59-89 ¶ 7 (same); see

also 59-4 ¶¶ 4-7 (difficult to go to post office); 59-15 ¶¶ 6-7 (spent $12.30 for book

of stamps online); 59-69 ¶ 12; (bought stamps online and did not receive them); 59-

67 ¶ 9 (buying stamps exposes her to COVID-19); 59-16 ¶ 24 (same); 59-9 ¶ 7

(same); 59-6 ¶ 11 (amount of required postage is unclear); 59-7 ¶ 8 (same); 59-70 ¶

11 (same); 59-71 ¶ 11 (same); Exs. 8 ¶ 8 (same); 66 ¶ 6 (same); 67 ¶¶ 3-4 (same), as

does the prevailing academic literature on voting, ECF No. 59-1 at 12. All voters

voting absentee in November—many of whom must do so to protect their health—

are subject to and burdened by these costs. See, e.g., Exs. 9 ¶ 5 (disabled voter

struggles to comply with postage requirement); 11 ¶¶ 3-6 (no postage to mail ballot).

      The State’s assertions that these burdens are ameliorated by the USPS policy

of delivering ballots without postage, drop boxes, or third-party postage payments

are unavailing. First, there is no indication voters are aware of USPS’s policy. ECF


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No. 59-1 at 12. The evidence demonstrates the opposite: not only are voters broadly

unaware, even postal workers believe that ballots may not be mailed without proper

postage. See Exs. 67 ¶ 3; 68 ¶ 5; 102 ¶¶ 7-8. Second, Defendants affirmatively tell

voters that postage is required to send back their ballot. See ECF No. 59-48 at 7 (“If

mailing, you must affix postage to the ballot envelope.”). Third, voters have been

repeatedly disenfranchised when using (or attempting to use) drop boxes or drop-off

locations. See ECF Nos. 59-10 ¶ 5 (ballot dropped off at county office rejected as

late); 59-12 ¶¶ 7-8 (same); see also Exs. 69 ¶¶ 4-5 (drop box ballot rejected as late);

70 ¶¶ 7-9 (drop box ballot not recorded); 71 ¶ 7 (drop box removed); 72 ¶¶ 6-8

(cannot confirm receipt of ballots dropped in box); 73 ¶ 5 (same); 74 ¶¶ 4-9 (same).

Finally, allowing third parties to pay for postage simply confirms that the cost of

stamps may be insurmountable for some voters such that outside assistance is

needed. See Ohio NAACP v. Husted, 43 F. Supp. 3d 808, 812-13 (S.D. Ohio 2014),

(evidence of “Souls to the Polls” programs spoke to burdens associated with changes

to early voting), aff’d, 768 F.3d 524 (6th Cir. 2014), vacated on other grounds, No.

14-3877, 2014 WL 10384647 (6th Cir. Oct. 1, 2014). While it is of course helpful to

voters to have assistance from third parties, this merely shifts the burden from

individual voters to organizations like NGP which assist them. It does not make the

underlying burden any more constitutional. See Ex. 99, League of Women Voters of


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NH v. Gardner, No. 226-2017-CV-00433, slip op. 39 (NH Sup. Ct. April 9, 2020)

(“[T]o conclude that an otherwise unconstitutional burden is lawful because of the

actions of third parties would be a dangerous precedent to set.”).

      The State’s interests—an alleged monetary burden—do not weigh in favor of

constitutionality. Georgia’s request for over 11 million dollars from the federal

government to use toward election administration in 2020 was granted. CARES Act,

Pub. L. 116-136, 134 Stat. 281 (2020); ECF No. 59-62. The cost of prepaid postage

on absentee ballots—between $803,750 and $2.4 million, see ECF No. 91-2 ¶ 13⸺is

minimal in comparison. Moreover, the State’s reliance on USPS’s unadvertised

policy for paying postage belies the tenuousness of their monetary burden argument.

When operating under this policy USPS does not pay for the missing postage.

Rather, it shifts postage costs from the sender to the recipient. ECF No. 59-42 at 7.

Thus, if every mail-in voter followed the State’s advice, USPS would bill Defendants

for the missing postage, which would cost just as much as prepaying it in the first

place (unless, of course, the failure to prepay postage suppresses voter turnout, as

Plaintiffs allege, and Defendants deny).

      Poll Tax. Absentee voting has become, for many voters, the only safe way to

vote. See, e.g., Exs. 16 ¶¶ 3-4; 17 ¶¶ 3-7; 19 ¶¶ 4-10; Ex. 22 ¶¶ 3-5; 24 ¶¶ 3-12; 29

¶¶ 3-7; 42 ¶¶ 4-12; 50 ¶¶ 3-5; 55 ¶¶ 4-10; 56 ¶¶ 7-17; 59 ¶¶ 3-5; 65 ¶¶ 3-6.


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Nevertheless, Georgia conditions these voters’ access to the franchise on a tax that,

as demonstrated, denies or abridges their right to vote. U.S. Const. amend XXIV, §

1. Just as Georgia could not charge voters 55 cents to enter a polling location, it

cannot require them to pay that (or more) to cast their absentee ballots.9 See also

ECF No. 96 at 33-35.

      4.     Election Day Receipt Deadline

      Anderson-Burdick. The burden imposed by the Election Day Receipt

Deadline is anything but illusory; it is a concrete nightmare. In 2018 alone, over

3,500 voters were fully disenfranchised by the law, ECF No. 59-1 at 4; a number

that doubled to more than 7,000 disenfranchised voters in the June Primary, Ex. 1 at

13; and that will explode to an estimated 60,000 voters likely to be disenfranchised

if this Court does not enjoin the law before November, ECF No. 59-1 at 4; see also

ECF Nos. 59-3 ¶¶ 6-7; 59-4 ¶¶ 8-9; 59-6 ¶¶ 4-7; 59-7 ¶ 5; 59-8 ¶¶ 4-7; 59-10 ¶¶ 5,

9; 59-12 ¶¶ 6-8; 59-89 ¶ 4; 59-91 ¶ 4; Exs. 6 ¶¶ 6-9; 9 ¶ 4; 75 ¶¶ 5-8; 77 ¶¶ 10-12;

78 ¶¶ 5-7; 79 ¶¶ 6-8; 81 ¶¶ 6-9; 82 ¶¶ 4-8. These voters have not been disenfranchised

because they fail to follow the rules, as the State implies. See State Br. 27. They were

disenfranchised as a direct result of Georgia’s poor administration of absentee


9
  The State is incorrect to assert that Jones v. DeSantis, No. 4:19CV300-RH/MJF,
2020 WL 2618062 (N.D. Fla. May 24, 2020), found that cost could serve as a poll
tax only if the fees from it were directly imposed by the state.

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balloting and the Deadline, which work together to deny thousands of lawful,

eligible voters the right to vote, through no fault of their own. See Exs. 6 ¶¶ 6-9; 75

¶¶ 5-8; 76 ¶¶ 10-15; 77 ¶¶ 10-12; 78 ¶¶ 5-7; 79 ¶¶ 6-8; 82 ¶¶ 4-8. In fact, a recent

USPS Inspector General report found that Georgia voters are at “high risk” of ballots

“not being delivered, completed [], and returned to the election offices in time. . . .

due to the time required for election commissions to produce ballots and Postal

Service delivery standards,” not voters. Ex. 100 at 6-7; see also Ex. 101. Neither

drop boxes nor in-person voting can save the constitutionality of the Deadline; as

noted, both operate to disenfranchise Georgia voters. See supra 13; see also ECF

No. 59-11 ¶ 16 (30-minute roundtrip to drop box); Exs. 8 ¶ 5 (required to cast out-

of-precinct provisional ballot which is not counted in Georgia); 9 ¶¶ 7-8 (travel to

drop box puts health at risk); 83 ¶ 7 (60-minute roundtrip to drop box); 84 ¶¶ 5-11

(not permitted to vote in person after requesting absentee ballot). Likewise, for

many, neither may be an option during the pandemic. See supra 6. Even where voters

are not disenfranchised, Georgia’s poor administration of absentee voting and

Receipt Deadline combine to force voters to risk their health by waiting in hours-

long lines to vote in person. See, e.g., Ex. 85 ¶¶ 3-10; supra 6-7.

      The fact that other states employ election day receipt deadlines hardly lessens

the burden that Georgia’s law imposes on its voters, nor does it provide a basis for


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Georgia’s interest in the law. See Crawford v. Marion Cty. Election Bd., 553 U.S.

181, 190 (2008) (“Rather than applying any litmus test . . . a court must identify and

evaluate the interests put forward by the State . . . and then make the hard judgment

that our adversary system demands.” (quotation marks omitted)). The State attempts

to convince this Court to ignore the clear direction provided by the U.S. Supreme

Court in Republican Nat’l Comm. v. Democratic Nat’l Comm., 140 S. Ct. 1205, 1208

(2020), in favor of two district court opinions that rejected challenges to deadlines

in other states based on different evidence than the Court has been presented here,

but as Plaintiffs have explained, both are easily distinguishable. See ECF No. 96 at

22-23. And, in doing so, the State ignores the very recent state court decision that

invalidated a virtually identical law. See ECF No. 59-55, Driscoll, et al. v. Stapleton,

No. DV 20-408 (Mont. D. Ct. May 22, 2020).

      Nor will a postmark deadline “frustrate the State’s strong interest in

conducting an efficient election,” as the State baldly claims. State Br. 26. If anything,

postmark deadlines promote efficiency and increase voter confidence by protecting

against the serious risk that their ballots will arrive late and be rejected due to no

fault of their own. See Ex. 86 ¶¶ 5-11 (postmark deadlines decrease administrative

burdens, increase the number of voters participating, and increase confidence in

elections). Further, it is feasible to implement a postmark deadline, as demonstrated


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by the experience of Wisconsin in the recent primary, as well as the many other

states that have a postmark deadline as a matter of statutory law.10

      The claim that the timely certification of election results “promotes certainty”

in Georgia’s elections has it exactly backwards. The Deadline injects needless

uncertainty into voting, threatening substantial numbers of voters with

disenfranchisement based on an indiscernible target—no one, not voters or elections

officials, can accurately predict when a ballot must be mailed to ensure it arrives in

time to be counted. See, e.g., ECF Nos. 59-8 ¶¶ 4-7 (ballot mailed early rejected as

late); Exs. 75 ¶¶ 5-8 (same); 83 ¶¶ 9-11 (two ballots mailed same day, but one

rejected as late); 6 ¶¶ 6-9 (ballot mailed by deadline to request absentee ballots

arrived and rejected as late); 77 ¶¶ 10-12 (same). Nor is there any actual threat to the

certainty of the election either—by law, Georgia’s election results are not certain

until 17 days after Election Day, a full ten days after Plaintiffs’ proposed deadline.

O.C.G.A. § 21-2-499. Thus, extending the Deadline will not “open a Pandora’s



10
  See, e.g., Alaska Stat. Ann. § 15.20.081(e)(h); Cal. Elec. Code § 3020; D.C. Code
Ann. § 1-1001.05(a)(9A); 10 Ill. Comp. Stat. Ann. 5/19-8(c); Iowa Code Ann. §
53.17(2); Kansas Stat. Ann. § 25-1132(b); Md. Code Regs. 33.11.02.04; N.J. Stat.
Ann. 19:63-22; N.Y. U.C.C. § 8-412; N.C. Gen. Stat. Ann. § 163A-1310(b); N.D.
Cent. Code Ann. § 16.1-07-09; 16.1-15-17; Nev. Rev. Stat. Ann. § 293.323(3); Ohio
Rev. Code Ann. § 3509.05(B); Tex. Elec. Code Ann. § 86.007(2); Utah Code Ann.
§ 20A-3a-204(2)(a), 20A-4-301(b); Was. Rev. Code § 29A.40.091(4), 29A.60.190;
W. Va. Code § 3-3-5(g)(2), 3-5-17.

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Box,” ECF 91 at 20 (“Cty. Br.”), and accepting and tabulating ballots from lawful

voters that arrive a mere five business days after Election Day will not impose any

meaningful hardship on Defendants. Moreover, there is no threat to election integrity

because voters may drop ballots in the mail after exit polls. This assertion is entirely

unfounded. The State provides no support for it, and there is no evidence that

postmark states experience this.11

      Due Process. While mail delays and the pandemic have exacerbated the time

voters need for their ballot to arrive, they are not the cause of voters’

disenfranchisement, as the State misrepresents. See State Br. 28. The Receipt

Deadline is responsible.12 See supra 15-16. There is no question that the risk of

erroneous deprivation is high, not only are thousands of eligible voters

disenfranchised each election, see supra 15, but in 2018 alone at least 3,045 of those



11
   The Purcell v. Gonzalez, 549 U.S. 1 (2006), case that the State cites to does not
discuss the ability to postmark early. And, while the Nielsen v. DeSantis, 4:20-cv-
236-RH-MJF (N.D. Fla. June 24, 2020), case does cite this as a rationale, it does not
provide any indication that this hypothetical even occurs.
12
   The State’s reliance on Georgia Shift v. Gwinnett County, No. 1:19-CV-01135,
2020 WL 864938 (N.D. Ga. Feb. 12, 2020), proves Plaintiffs’ point. It is precisely
because no one can guarantee the timing of mail delivery that the State should ensure
that its deadlines for ballot receipt reflect that reality and provide sufficient
opportunity for absentee ballots to be received and counted despite mail delays.
That’s particularly true during a global pandemic, when absentee ballot use is likely
to increase exponentially and when the postal service is under extreme stress.


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ballots arrived within a week of Election Day, indicating that they had been mailed

either on or before the election.13 ECF No. 59-1 at 18. Finally, the assertion that a

postmark deadline is not an adequate cure because it, too, can be missed, defies logic.

Voters are used to postmark deadlines because in virtually every other area in which

they interact with their government through mail, including at tax time, their

submissions are timely if postmarked by the deadline. See ECF No. 58 at 12 n.8; see

also ECF No. 59-67 ¶ 7; Exs. 80 ¶ 9; 81 ¶ 6; 82 ¶ 5; 88 ¶ 4 (told by elections official

ballot must be “postmarked by June 9, 2020”). Even if some voters would still miss

the postmark deadline, Georgia would ensure the enfranchisement of far more lawful

voters than it does now. In 2018, over 85% of ballots of voters disenfranchised by

the Deadline arrived within the timeframe proposed by Plaintiffs. See ECF No. 59-

1 at 18. Thus, if the State is truly concerned about disenfranchised voters, the

solution is clearly not to maintain the Receipt Deadline.

      5.     Voter Assistance Ban

      Thousands of Georgia voters—including Plaintiffs Jennings, Woodall and

NGP’s constituents—are impacted by the Voter Assistance Ban. ECF Nos. 59-4 ¶



13
  The State’s critiques of the voter declarations fall flat. See State Br. 28. For
example, Shanmugasundaram and Jones both took steps to request and receive their
ballots before Election Day. ECF Nos. 59-8 ¶ 4; 59-90 ¶ 3. Had the Receipt Deadline
not been in place, their ballots could have been received in time to be counted.

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10; 59-5 ¶ 8; 59-10 ¶ 10; 59-89 ¶ 6; Exs. 5 ¶ 5; 9 ¶ 9; 11 ¶¶ 3, 6; 49 ¶¶ 8-10; 76 ¶ 7;

98 ¶¶ 6-7. The need for relief from the Ban is even more pressing now where

thousands are homebound due to COVID-19 and cannot risk leaving their homes to

vote or even having a family or household member do so for fear of exposing

themselves to the virus.14 ECF No. 59-1 at 7-10, 31-32. Cf. supra 6. There is no

question that the Ban burdens these voters.

      Concerns about voter fraud are insufficient to justify these burdens. There is

virtually no reported voter fraud in Georgia, no reported incidents of ballot collection

fraud, and the State offers no evidence to support such a contention. ECF No. 59-1

at 32-33; Ex. 1 at 12-13. Nonexistent allegations of voter fraud cannot outweigh

actual burdens on voters. See e.g., Paher v. Cegavske, No. 320CV00243, 2020 WL

2089813, at *2 (D. Nev. Apr. 30, 2020) (maintaining “high level of access to the

ballot, while protecting the safety of voters and poll workers—[] at high risks for

severe illness from COVID-19” outweighed concern for voter fraud). And, even if

the state had produced such evidence, it has not explained how this the Ban is

narrowly tailored to address this issue. This is particularly true given the protections

Georgia already has to protect against fraud. See ECF No. 58 at 21; see also Common



14
  That voters have in the past not needed assistance, see State Br. 31, ignores the
unique circumstances under which the November election will proceed.

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Cause Ind. v. Individual Members of the Ind. Election Comm’n, 800 F.3d 913, 928

(7th Cir. 2015) (state interests cannot outweigh burdens where they can “be served

through other means, making it unnecessary to burden the right to vote”).

      First Amendment. The State’s arguments regarding Plaintiffs’ First

Amendment claims are identical to those made in its motion to dismiss. Plaintiffs’

response to those arguments is incorporated in full here. See ECF No. 96 at 28-30.

C.    Plaintiffs have established irreparable harm.

       “When constitutional rights are threatened or impaired, irreparable injury is

presumed.” Obama for Am. v. Husted, 697 F.3d 423, 436 (6th Cir. 2012). Plaintiffs

have alleged both. The arguments to the contrary reflect the same legal errors that

Defendants have embraced throughout: complete disenfranchisement is not

necessary to challenge a voting law, see supra 4-5, burdening absentee voting

threatens the right to vote, see supra 5, and the existence of other voting methods

does not mean that Plaintiffs will not be harmed,15 see ECF No. 96 at 4-8; see also

supra 13. These principles are underscored in the current circumstances, where

COVID-19 makes absentee voting the only safe way to exercise the franchise for


15
   The Counties’ reliance on Gwinnett Cty. NAACP v. Gwinnett Cty. Bd. of
Registrations & Elections, Cty. Br. 18, is misplaced. Unlike Plaintiffs here, the
plaintiffs there did not challenge the validity of Georgia’s laws or policies and failed
to “articulate any specifics as to [their] injury.” No. 1:20-cv-00912-SDG, 2020 WL
1031897, *6, *8-*9 (N.D. Ga. March 3, 2020).

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many voters. See ECF No. 59-2 ¶¶ 23-31; Ex. 2 ¶¶ 13-15. Once the election occurs,

“there can be no do-over and no redress”—of the burdens imposed on the Voter

Plaintiffs’ rights, or of those imposed on NGP. League of Women Voters of N.C. v.

N.C., 769 F.3d 244, 247 (4th Cir. 2014); see also GCPA, 347 F. Supp. 3d at 1268.

D.    The balance of the equities and public interest favors Plaintiffs.

      Georgia voters currently “suffer from an ad hoc and chaotic election process.”

Cty. Br. 20. The relief requested would hardly make this system worse; as

demonstrated, it would make it far better. See Ex. 1 at 13-16. For that very reason,

courts have repeatedly rejected claims of administrative burdens as reason to deny

relief in voting cases.16 See, e.g., GCPA, 347 F. Supp. 3d at 1268 (“[R]ecogniz[ing]

the administrative burden the Court’s order may place on Defendant, particularly

close to the election . . . [but] find[ing] that this burden . . . is minimal compared to

the potential loss of a right to vote altogether by a group of people”.); see also

Martin, 341 F. Supp. 3d at 1341 (administrative processes “not so burdensome as to

outweigh Georgians’ right to vote”). This case is no different.

      Defendants’ claim that Plaintiffs did not “exercise due diligence,” Cty. Br. 22,

is wrong on the facts and law. The County insinuates this case is like Benisek v.


16
   Notably, the administrative burden asserted by the counties is the timely
certification of elections, but as discussed supra 18-19, Georgia has more than
enough time to count late ballots and certify elections.

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Lamone, 138 S. Ct. 1942 (2018), but it is not. There, plaintiffs “did not move for a

preliminary injunction . . . until . . . over three years after the plaintiffs’ first

complaint was filed.” Id. at 1944. Here, Plaintiffs filed their motion for preliminary

injunction just four weeks after their initial Complaint and just one week after their

First Amended Complaint. See ECF Nos. 1, 33 & 57. In any event, there is no

requirement that voting rights plaintiffs bring suit as soon as they are aware of a

constitutional violation. Cf. Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312,

1326 (11th Cir. 2019) (plaintiff need not “search and destroy every conceivable

potential unconstitutional deprivation, but could catch its breath, take stock of its

resources, and study the result of its efforts”). That Plaintiffs filed a preliminary

injunction in June to vindicate the public’s interest in voting cannot be taken as a

strike against the public. Rather, “allowing for easier and more accessible voting for

all segments of society serves the public interest.” Detzner, 314 F. Supp. 3d at 1224.

      The State’s argument that ordering relief is improper more than three-and-

one-half months before November is baseless. The August primary runoff elections

have not even happened yet. State Br. 34. The candidates for November have not

been finalized, nor have the ballots been printed—let alone mailed to voters. Indeed,

the Counties helpfully point out that absentee ballots for November do not go out

for another two months. Cty. Br. 23. All of the relief Plaintiffs seek is easily


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implemented in time for the election. This case is thus nowhere near as close to the

election as the decision at issue in Purcell v. Gonzalez, in which the district court

“enjoined operation of voter identification procedures just weeks before an

election.” 549 U.S. 1, 4 (2006). Because we are nowhere near the “eve of an

election,” Purcell does not apply. Republican Nat’l Comm., 140 S. Ct. at 1207.17

      Finally, it is beyond credible dispute that it “would be in the public’s interest

to ensure that there is a procedure in place to allow every eligible Georgia citizen to

register and vote.” GCPA, 347 F. Supp. 3d at 1268. Similarly, “[t]he public interest

is best served by allowing the qualified absentee voters to vote and have their votes

counted.” Martin v. Crittenden, 347 F. Supp. 3d 1302, 1310-11 (N.D. Ga. 2018).

Thus, this factor, too, weighs in favor of granting Plaintiffs’ requested relief.

                               IV.    CONCLUSION

      For the reasons stated above, Plaintiffs respectfully request this Court grant

their Motion for Preliminary Injunction.




17
  None of the cases Defendants cite from this Court involve a dismissal on Purcell
grounds. State Br. 35.

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Dated: July 16, 2020                  Respectfully submitted,

                                      Adam M. Sparks
                                      Halsey G. Knapp, Jr.
                                      Georgia Bar No. 425320
                                      Joyce Gist Lewis
                                      Georgia Bar No. 296261
                                      Adam M. Sparks
                                      Georgia Bar No. 341578
                                      KREVOLIN AND HORST, LLC
                                      One Atlantic Center
                                      1201 W. Peachtree Street, NW, Ste. 3250
                                      Atlanta, GA 30309
                                      Telephone: (404) 888-9700
                                      Facsimile: (404) 888-9577
                                      hknapp@khlawfirm.com
                                      jlewis@khlawfirm.com
                                      sparks@khlawfirm.com

                                      Marc E. Elias*
                                      Amanda R. Callais*
                                      K’Shaani Smith*
                                      PERKINS COIE LLP
                                      700 Thirteenth Street, N.W., Suite 600
                                      Washington, D.C. 20005-3960
                                      Telephone: (202) 654-6200
                                      Facsimile: (202) 654-6211
                                      MElias@perkinscoie.com
                                      ACallais@perkinscoie.com
                                      KShaaniSmith@perkinscoie.com




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                                Kevin J. Hamilton*
                                Stephanie R. Holstein*
                                PERKINS COIE LLP
                                1201 Third Avenue, Suite 4900
                                Seattle, WA 98101-3099
                                Telephone: (206) 359-8000
                                Facsimile: (206) 359-9000
                                KHamilton@perkinscoie.com
                                SHolstein@perkinscoie.com

                                Lilian Timmermann*
                                PERKINS COIE LLP
                                1900 Sixteenth Street, Suite 1400
                                Denver, CO 80202-5222
                                Telephone: (303) 291-2354
                                Facsimile: (303) 291-2454
                                LTimmermann@perkinscoie.com

                                Christian Ruiz
                                Georgia Bar No. 548611
                                PERKINS COIE LLP
                                2901 N. Central Avenue, Suite 2000
                                Phoenix, Arizona 85012-2788
                                Telephone: (602) 351-8000
                                Facsimile: (602) 648-7000
                                cruiz@perkinscoie.com

                                Counsel for Plaintiffs
                                *Admitted Pro Hac Vice




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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 THE NEW GEORGIA PROJECT,
 REAGAN JENNINGS, CANDACE
 WOODALL, and BEVERLY PYNE,                      Civil Action File No.
      Plaintiffs,                                1:20-CV-01986-ELR

                     v.
BRAD RAFFENSPERGER, in his official
capacity as the Georgia Secretary of State
and the Chair of the Georgia State Election
Board, et al.
            Defendants.




                       CERTIFICATE OF COMPLIANCE

       I hereby certify that the foregoing document has been prepared in

accordance with the font type and margin requirements of L.R. 5.1, using font type

of Times New Roman and a point size of 14.

Dated: July 16, 2020                          Adam M. Sparks
                                              Counsel for Plaintiffs
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 THE NEW GEORGIA PROJECT,
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            Defendants.




                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 16, 2020, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which will send a

notice of electronic filing to all counsel of record.

Dated: July 16, 2020                            Adam M. Sparks
                                                Counsel for Plaintiffs
